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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
24 HOUR FITNESS                                              :        Case No. 20–11558 (KBO)
WORLDWIDE, INC., et al.,                                     :
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x


                                        AFFIDAVIT OF SERVICE

       I, Liliya Kulyk, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

       On January 4, 2021, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served by the method set forth on the Core/2002 Service List
attached hereto as Exhibit A:

    •   Certification of Counsel Regarding Order Scheduling Omnibus Hearing Dates
        [Docket No. 1557]

    •   Order Scheduling Omnibus Hearing Dates [Docket No. 1558]




                          [Remainder of page intentionally left blank]




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are 24 Hour Holdings II LLC (N/A); 24 Hour Fitness Worldwide, Inc. (5690); 24 Hour Fitness
United States, Inc. (8376); 24 Hour Fitness USA, Inc. (9899); 24 Hour Fitness Holdings LLC (8902); 24 San Francisco
LLC (3542); 24 New York LLC (7033); 24 Denver LLC (6644); RS FIT Holdings LLC (3064); RS FIT CA LLC
(7007); and RS FIT NW LLC (9372). The Debtors’ corporate headquarters and service address is 12647 Alcosta
Blvd., Suite 500, San Ramon, CA 94583.
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Dated: January 7, 2021

                                                          /s/ Liliya Kulyk
                                                          Liliya Kulyk

State of New York
County of New York

Subscribed and sworn to (or affirmed) to me on January 7, 2021, by Liliya Kulyk, proved to me
on the basis of satisfactory evidence to be the person who executed this affidavit.

/s/ JAMES A. MAPPLETHORPE
Notary Public, State of New York
No. 01MA6370846
Qualified in New York County
Commission Expires February 12, 2022




                                              2                                     SRF 49707
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                       Exhibit A
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                                                                                                                                                              Exhibit A
                                                                                                                                                        Core/2002 Service List
                                                                                                                                                       Served as set forth below



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ER, LLC, Houston Willowbrook LLC, PGIM Real
Estate, Starwood Retail Partners, LLC and The
Macerich Company, Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P., WRI Southern                                                     Attn: Leslie C. Heilman, Laurel D. Roglen
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          In re: 24 Hour Fitness Worldwide, Inc., et al
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                                                                                                                                                                Exhibit A
                                                                                                                                                          Core/2002 Service List
                                                                                                                                                         Served as set forth below



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          In re: 24 Hour Fitness Worldwide, Inc., et al
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                                                                                                                                                     Exhibit A
                                                                                                                                               Core/2002 Service List
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                                                         DESCRIPTION                                                                NAME                                                          ADDRESS                                                        EMAIL             METHOD OF SERVICE
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                                                                                                                                                             Exhibit A
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                                                                                                                                                      Served as set forth below



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which is a subsidiary of BRIX REIT, INC., RU Rainbow Blvd Las Vegas, NV, LLC which is a subsidiary of RW Holdings NNN                                                 18101 Von Karman, Suite 1200
REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT., Inc.                                             Goe Forsythe & Hodges LLP                     Irvine CA 92612                                         mforsythe@goeforlaw.com         Email
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Counsel to Custom Locations, LLC                                                                                        Guaglardi & Meliti, LLP                       Rochelle Park NJ 07662                                  jnunnermacker@adgmlaw.com       Email
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                                                                                                                                                                 Exhibit A
                                                                                                                                                           Core/2002 Service List
                                                                                                                                                          Served as set forth below



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Securities and Exchange Commission - Headquarters                                                                               Securities & Exchange Commission              Washington DC 20549                                    secbankruptcy@sec.gov          First Class Mail and Email
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                                                                                                                                Securities & Exchange Commission - NY         200 Vesey Street Ste 400                               bankruptcynoticeschr@sec.gov
Securities and Exchange Commission - Regional Office                                                                            Office                                        New York NY 10281-1022                                 NYROBankruptcy@SEC.GOV         First Class Mail and Email
                                                                                                                                                                              Attn: Bankruptcy Dept
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                                                                                                                                                    Exhibit A
                                                                                                                                              Core/2002 Service List
                                                                                                                                             Served as set forth below



                                                         DESCRIPTION                                                              NAME                                                          ADDRESS                                               EMAIL         METHOD OF SERVICE
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                                                                                                                                                         Exhibit A
                                                                                                                                                   Core/2002 Service List
                                                                                                                                                  Served as set forth below



                                                         DESCRIPTION                                                                   NAME                                                           ADDRESS                                                         EMAIL          METHOD OF SERVICE
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HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM 528, L.P.; and A-S 144 Grand                                                1313 North Market Street, Suite 1200                                              ericka.johnson@wbd-us.com
Parkway-W. Airport, L.P.; Crane Court, LLC, Nazareth Retail Holdings, LLC, and Mercury TIC, LLC                         Womble Bond Dickinson (US) LLP             Wilmington DE 19801                                                               todd.atkinson@wbd-us.com      Email
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